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         Exhibit 2
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                   THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE



ALBERTO HERNANDEZ,
                                          Civil Action No.   19-6087
                 Plaintiff,

           V.
                                            ORDER TO SHOW CAUSE

CAESARS LICENSE CO., LLC, et
al.,
               Defendants.



ALBERTO HERNANDEZ,
                                         Civil Action No.    19-6088
                 Plaintiff,

           V.
                                            ORDER TO SHOW CAUSE

CAESARS LICENSE CO., LLC, et
al.,
               Defendants.



ALBERTO HERNANDEZ,
                                         Civil Action No.    19-6091
                 Plaintiff,

           V.
                                            ORDER TO SHOW CAUSE

MONTEGO BAY RESORT AND
CONFERENCE CENTER,

                 Defendants.




     THESE CASES come before the Court upon complaints filed by




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Plaintiff Hernandez on February 18,                      2019.’        Each complaint seeks

injunctive relief and attorneys fees for alleged violations of

the Americans with Disabilities Act                      (“ADA”)   .      Plaintiff,   who

allegedly cannot walk without the use of assistive devices as a

result of a partial leg amputation,                      specifically pleads that he

“has decided to become an activist for ADA compliance so that

places of public accommodation comply with the law.”

(Complaints,           ¶    16)    In these particular cases,             Plaintiff seeks

an Order directing the Defendants to “fix[]                            the Propertys[’]

[reservation]              website[s]   so that       [they]   are compliant with the

ADA.”       (Id.   ¶       52)    As discussed in further detail below,

Plaintiff contends that the websites do not currently permit him

to determine whether each property has disability accommodations



        The above-captioned cases are three of eight total cases
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filed in this District by Plaintiff Hernandez on February 18,
2019.  All eight cases name as Defendants hotels in popular
vacation spots in Southern New Jersey, including Atlantic City,
Cape May and North Wildwood.   An examination of the complaints
would strongly suggest that each complaint was created from one
generic document, with names changed where necessary.    Indeed,
the complaints include allegations which do not appear relevant
to the instant cases.   For example, at paragraph 25 in each
complaint, the law concerning “long-arm [personal] jurisdiction”
pursuant to Fed. R. Civ. p. 4 (k) (2) is discussed even though
paragraph 21 of each Complaint pleads that “[b]ecause
Defendant’s principle place of business is operated out of []
New Jersey, it is subject to jurisdiction of this forum.”
 (Plaintiff also pleads that he is a father of a child “who
attends Harvard University.” (Complaints ¶ 3) It is not apparent
in the least why the university Plaintiff’s child attends is at
all relevant to this case.)   Most tellingly, the final paragraph
of each Complaint in  every case  mistakenly identifies the
Plaintiff as “DONNSON JIMENEZ.”


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that meet his needs.

        Courts “are required to raise issues of standing sua sponte

if such issues exist.”                    Bock v.         Pressler & Pressler,                     LLP,    658 F.

App’x 63,       64   (3d Cir.        2016)      (citing Steele v. Blackman,                            236 F.3d

130,    134 n.4      (3d Cir.        2001))     .     “If plaintiffs do not possess

Article III standing             .    .    .   the District Court                  .    .    .    lack[s]

subject matter jurisdiction to address the merits of plaintiffs’

case.”        Storino v. Borough of Point Pleasant Beach,                                         322 F.3d

293,    296    (3d Cir.    2003)          (citation omitted)

        “To establish Article III standing,                               a plaintiff must have

 (1)    suffered an injury in fact,                           (2)   that is fairly traceable to

the challenged conduct of the defendant,                                  and     (3)       that is likely

to be redressed by a favorable judicial decision.’”                                                Mielo v.

Steak n Shake Operations,                      Inc.,          897 F.3d 467,            478        (3d Cir.

2018)    (quoting Spokeo,             Inc. v. Robins,                ——   U.S.         --,       136 5.    Ct.

1540,    1547    (2016))   .     As “[tjhe party invoking federal

jurisdiction,” a plaintiff “bears the burden of establishing

these elements.”           Id.       (quoting Lujan v.                Defenders of Wildlife,

504 U.S.      555    (1992))

        “The primary element of standing is injury in fact,                                               and it

is actually a conglomerate of three components”:                                            (1)    “‘an

invasion of a legally protected interest”;                                  (2)        a “‘concrete and

particularized’” injury;                  and       (3)       an injury that is “‘actual or

imminent,       not conjectural or hypothetical.’”                                Mielo,           897 F.3d at



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478   (quoting              and Lujan).

      An examination of the facts alleged in the complaints leads

this Court to question whether Plaintiff has established that he

has suffered an injury in fact.             Plaintiff alleges that he

“visited the Property’s website for the purpose of reviewing an

assessing the accessible features at the Property in order to

ascertain whether it meets Plaintiff’s individual disability

needs[.]”     (Complaints       ¶   30)   The complaints do not plead how

many times Plaintiff visited each website.                      Moreover, while

Plaintiff pleads a laundry list of “disability accommodations”

he was “unable to verify”            “whether the Property contain Led]            ,“




(Complaints      ¶   31),   the complaints do not even plead that

Plaintiff,    who “resides in Miami,                Florida,”   (Complaints,   ¶   1)

has any intention of visiting New Jersey, much less the specific

properties identified in the complaints.                     Rather,   Plaintiff

merely pleads in conclusory fashion that “Plaintiff intends to

revisit Defendant’s or Defendant’s third-party agent’s website

and/or online reservation system in order to test it for

compliance with 28 C.F.R.            § 36.302(e)2 and/or otherwise determine



       2The Court notes that 28 C.F.R. § 36.302(e) (1), which
Plaintiff cites in his complaints, does not impose a specific
duty on places of public accommodation to include descriptions
of disability accommodations on their websites.   The regulation
merely requires that a place of public accommodation “[i]dentify
and describe accessible features        in enough detail to
                                                .    .   .



permit individuals with disabilities to assess independently
whether a given hotel or guest room meets his or her


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if the site provides enough information for Plaintiff to

determine whether the site comes into compliance with the

guidelines of the aforementioned law.”                     (Complaints    ¶   39)

       Thus,     it does not appear that Plaintiff has pled an injury

in fact.        In this regard,      the Court finds this case analogous to

Murray v.      Lifetime Brands,       Inc.,       No.   CV 16-5016,    2017 WL 1837855

(D.N.J. May 8,        2017)   .   In that case,         as here,   the plaintiff’s

claim was premised on an “‘unlawful denial of access to

information subject to disclosure.’”                     Id.   at *3   (quoting In ret

Nickelodian Consumer Privacy Litig.,                    827 F.3d 262,    273-74     (3d

Cir.   2016))    .   In Murray,     Judge Hillman held that the plaintiff

had not established an injury in fact,                    explaining,

“[c]ritically,        what Murray fails to do,             however,    is identify the

harm that resulted from allegedly not knowing what she asserts

the    [law]    requires      [defendant]   to tell her.”          Id. at *4,

       In this case,       too,    Plaintiff fails to plead what actual,

concrete harm he suffered,            or will continue to suffer,              as a

result of allegedly being unable to determine whether each

property has disability accommodations that meet his needs.                               For

example,       Plaintiff has not pled that he refrained from making

travel plans, nor that he changed his travel plans, because he



accessibility        needs.”  28 C.F.R. § 36.302(e) (1) (ii). The
regulation is        silent as to where or how a place of public
accommodation        must identify and describe its accessible
features, and        Plaintiff’s complaints are silent in this regard.


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lacked information concerning disability accommodations at the

properties at issue.3

     Accordingly,    IT IS on this 26th day of February,      2019,

hereby ORDERED that:

      (1)   Plaintiff shall show cause by written submission filed

            on the docket within 14 days why this case should not

            be dismissed for lack of Article III standing;        and

      (2)   Plaintiff shall serve a copy of this Order on each

            Defendant along with the Complaint;      and

      (3)   Upon receipt of Plaintiff’s submission in response to

            this Order to Show Cause,     the Court may direct a

            response from any Defendant who has been served.




                                     s/ Renée Marie Bumb
                                   RENÉE MARIE BUM3
                                   UNITED STATES DISTRICT JUDGE




        In this regard, this case is distinguishable from Mielo,
where the Third Circuit held that two “disability rights
advocates” had Article III standing to assert their claims.   In
that case, the Court explained that  the plaintiffs had alleged
an actual, concrete injury when they “experience[ed] actual
physical difficulty in ambulating through parking facilities
that were not ADA-compliant.”   897 F.3d at 480.


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                   THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE



ALBERTO HERNANDEZ,
                                          Civil Action No.   19-6087
                 Plaintiff,

           V.
                                            ORDER TO SHOW CAUSE

CAESARS LICENSE CO., LLC, et
al.,
               Defendants.



ALBERTO HERNANDEZ,
                                         Civil Action No.    19-6088
                 Plaintiff,

           V.
                                            ORDER TO SHOW CAUSE

CAESARS LICENSE CO., LLC, et
al.,
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ALBERTO HERNANDEZ,
                                         Civil Action No.    19-6091
                 Plaintiff,

           V.
                                            ORDER TO SHOW CAUSE

MONTEGO BAY RESORT AND
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     THESE CASES come before the Court upon complaints filed by




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Plaintiff Hernandez on February 18,                      2019.’        Each complaint seeks

injunctive relief and attorneys fees for alleged violations of

the Americans with Disabilities Act                      (“ADA”)   .      Plaintiff,   who

allegedly cannot walk without the use of assistive devices as a

result of a partial leg amputation,                      specifically pleads that he

“has decided to become an activist for ADA compliance so that

places of public accommodation comply with the law.”

(Complaints,           ¶    16)    In these particular cases,             Plaintiff seeks

an Order directing the Defendants to “fix[]                            the Propertys[’]

[reservation]              website[s]   so that       [they]   are compliant with the

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that meet his needs.

        Courts “are required to raise issues of standing sua sponte

if such issues exist.”                    Bock v.         Pressler & Pressler,                     LLP,    658 F.

App’x 63,       64   (3d Cir.        2016)      (citing Steele v. Blackman,                            236 F.3d

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478   (quoting              and Lujan).

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if the site provides enough information for Plaintiff to

determine whether the site comes into compliance with the

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      Case 1:20-cv-01973-SAG Document 5-4 Filed 08/31/20 Page 13 of 19



lacked information concerning disability accommodations at the

properties at issue.3

     Accordingly,    IT IS on this 26th day of February,      2019,

hereby ORDERED that:

      (1)   Plaintiff shall show cause by written submission filed

            on the docket within 14 days why this case should not

            be dismissed for lack of Article III standing;        and

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      (3)   Upon receipt of Plaintiff’s submission in response to

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                   THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE



ALBERTO HERNANDEZ,
                                          Civil Action No.   19-6087
                 Plaintiff,

           V.
                                            ORDER TO SHOW CAUSE

CAESARS LICENSE CO., LLC, et
al.,
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ALBERTO HERNANDEZ,
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Case 1:19-cv-06091-RMB-AMD Document 4 Filed 02/26/19 Page 2 of 6 PageID: 32
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Plaintiff Hernandez on February 18,                      2019.’        Each complaint seeks

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478   (quoting              and Lujan).

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if the site provides enough information for Plaintiff to

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example,       Plaintiff has not pled that he refrained from making

travel plans, nor that he changed his travel plans, because he



accessibility        needs.”  28 C.F.R. § 36.302(e) (1) (ii). The
regulation is        silent as to where or how a place of public
accommodation        must identify and describe its accessible
features, and        Plaintiff’s complaints are silent in this regard.


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lacked information concerning disability accommodations at the

properties at issue.3

     Accordingly,    IT IS on this 26th day of February,      2019,

hereby ORDERED that:

      (1)   Plaintiff shall show cause by written submission filed

            on the docket within 14 days why this case should not

            be dismissed for lack of Article III standing;        and

      (2)   Plaintiff shall serve a copy of this Order on each

            Defendant along with the Complaint;      and

      (3)   Upon receipt of Plaintiff’s submission in response to

            this Order to Show Cause,     the Court may direct a

            response from any Defendant who has been served.




                                     s/ Renée Marie Bumb
                                   RENÉE MARIE BUM3
                                   UNITED STATES DISTRICT JUDGE




        In this regard, this case is distinguishable from Mielo,
where the Third Circuit held that two “disability rights
advocates” had Article III standing to assert their claims.   In
that case, the Court explained that  the plaintiffs had alleged
an actual, concrete injury when they “experience[ed] actual
physical difficulty in ambulating through parking facilities
that were not ADA-compliant.”   897 F.3d at 480.


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